                                   Case 3:20-mc-80224-SK Document 6 Filed 03/09/21 Page 1 of 2



                           1   Jonathan Tam (SBN 304143)
                               DECHERT LLP
                           2   jonathan.tam@dechert.com
                               One Bush Street, Suite 1600
                           3   San Francisco, CA 94104-4446
                               Telephone: (415) 262-4500
                           4   Facsimile:   (415) 262-4555

                           5   Attorney for Non-Parties
                               Dechert LLP, Neil Gerrard, David Hughes,
                           6   and Caroline Black

                           7

                           8                                UNITED STATES DISTRICT COURT

                           9                             NORTHERN DISTRICT OF CALIFORNIA
                        10                                      SAN FRANCISCO DIVISION
                        11

                        12     In Re Application of Karam Salah Al din          Case No. 20-mc-80224-SK
                               Awni Al Sadeq and Stokoe Partnership
                        13     Solicitors,                                      NOTICE OF NON-OPPOSITION

                        14                       Petitioners.

                        15

                        16

                        17            Non-Parties Dechert LLP, Neil Gerrard, David Hughes, and Caroline Black (collectively,

                        18     the “Dechert Non-Parties”) are in receipt of this Court’s January 28, 2021 Order (ECF 4) and the

                        19     application and supporting papers that the Applicant has filed in this matter. The Dechert Non-

                        20     Parties have reviewed the application and supporting papers and state unequivocally that they had

                        21     no involvement with, or knowledge of, the purported “online hacking campaign” that is described

                        22     by the Applicant. The discovery sought by the Applicant is unrelated to the Dechert Non-Parties

                        23     and, accordingly, the Dechert Non-Parties do not oppose the application.

                        24

                        25

                        26

                        27
                        28
D EC H ER T L L P
A T T O RNE YS A T L A W
                                                                                                    NOTICE OF NON-OPPOSITION
  SA N FRA NC I S C O                                                                                  CASE NO. 20-MC-80224-SK
                                  Case 3:20-mc-80224-SK Document 6 Filed 03/09/21 Page 2 of 2



                           1   Dated: March 9, 2021                  DECHERT LLP

                           2

                           3                                         By: /s/ Jonathan Tam
                                                                        Jonathan Tam
                           4                                            Attorney for Non-Parties
                                                                        Dechert LLP, Neil Gerrard, David Hughes,
                           5                                            and Caroline Black
                           6

                           7

                           8

                           9

                        10

                        11

                        12

                        13

                        14

                        15

                        16

                        17

                        18

                        19

                        20

                        21

                        22

                        23

                        24

                        25

                        26

                        27
                        28
D EC H ER T L L P
                                                                                      NOTICE OF NON-OPPOSITION
A T T O RNE YS A T L A W
  SA N FRA NC I S C O
                                                                   -2-                   CASE NO. 20-MC-80224-SK
